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 1                                                             The Honorable Ricardo S. Martinez
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 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
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                                         AT SEATTLE
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10 UNITED STATES OF AMERICA,                         No. CR20-84 RSM
11                                  Plaintiff,       ORDER CONTINUING TRIAL
                                                     DATE
12                          v.
13 DEVINARE ANTWAN PARKER,
14                                  Defendant.
15
16          Having considered the record and the parties’ agreed motion to continue the trial date,
17 and the General Orders for the Western District of Washington, including General Order 15-
18 20 and 18-20, the Court FINDS that neither the trial nor in-person hearings can proceed on
19 or before the currently scheduled trial date of March 15, 2021. For the reasons detailed in the
20 parties’ agreed motion, the ends of justice served by continuing the trial and status hearing
21 outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
22 § 3161(h)(7)(A), (B)(i), (iv).
23          IT IS THEREFORE ORDERED that the parties’ motion to continue the trial date is
24 GRANTED. The trial is scheduled for May 10, 2021, at 9:00 a.m. Pretrial motions are due
25 April 8, 2021.
26          IT IS FURTHER ORDERED that the time between the date of the filing of the
27 government’s motion and the May 10, 2021, trial date is excluded in computing the time
28 within which trial must commence because the ends of justice served by granting this


     Order Continuing Trial Date
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 1 continuance outweigh the best interest of the public and the defendant in a speedy trial. 18
 2 U.S.C. § 3161(h)(7)(A). Failure to grant this continuance would likely make trial impossible
 3 and result in a miscarriage of justice, and would deny counsel for the defendant and
 4 government counsel the reasonable time necessary for effective preparation, taking into
 5 account the exercise of due diligence. Id. § (B)(i), (iv).
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 7          Dated this 12th day of January, 2021.
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                                                A
                                                RICARDO S. MARTINEZ
                                                CHIEF UNITED STATES DISTRICT JUDGE
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     Order Continuing Trial Date
     United States v. Parker, CR20-84 RSM – 2
